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9    Attorneys for the United States

10                       UNITED STATES DISTRICT COURT
11                            DISTRICT OF NEVADA

12
     UNITED STATES OF AMERICA,                  T
                                                O2:16-CR-46-GMN-PAL
13                                              D
                   Plaintiff,                   D
14                                                GOVERNMENT’S MOTION FOR
           v.                                     LEAVE TO FILE SUR-REPLY TO
15                                                DEFENDANT ENGEL’S REPLY TO
     TODD C. ENGEL,                               GOVERNMENT’S RESPONSE IN
16                                                OPPOSITION TO HIM MOTION
                   Defendant.                     FOR NEW TRIAL
17

18   CERTIFICATION: The local criminal rules do not provide a time frame to

19   file a sur-reply. This motion is filed within seven days of Engel having filed

20   his reply.

21         The United States of America, by and through undersigned counsel,

22   respectfully seeks leave of Court to file a sur-reply in opposition to Engel’s motion

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1    for new trial. See ECF Nos. 3183 (Motion for New trial), ECF No. 3198

2    (Government’s Response), and 3204 (Reply to Response). 1

3            The government seeks leave because Engel raises new arguments in his

4    reply. In his motion for new trial, Engel argued that he was entitled to a new trial

5    or dismissal on Brady grounds because the Court dismissed the superseding

6    indictment against the Tier 1 defendants. The government responded that Engel’s

7    “me-too” argument did not meet the demanding Brady standard that requires a

8    case-by-case fact intensive examination. In reply, Engel makes new arguments

9    attempting to meet the Brady standard.

10           Engel also makes new arguments in support of his insufficiency of the

11   evidence claims. First, he argues that his arguments should not be time-barred

12   because the Court has inherent power to achieve justice, notwithstanding the 14-

13   day filing time in Rule 33. Second, he argues that the evidence was insufficient to

14   support the extortion count because it did not prove who was extorted or whether

15   the cattle extorted belonged to the United States.

16           In fairness, the government ought to be able to respond to Engel’s new

17   arguments.

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      The government stands on its response to Engel’s motion for release. ECF Nos. 3180 (Motion for Release), 3198
     (Consolidated Response).
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1          WHEREFORE, the Court should grant the government leave to file the

2    attached sur-reply.

3

4          DATED this 12th day of March, 2018.

5                                              Respectfully submitted,

6                                              DAYLE ELIESON
                                               United States Attorney
7
                                               STEVEN W. MYHRE
8                                              First Assistant United States Attorney

9                                              s/Daniel R. Schiess      _
                                               NADIA J. AHMED
10                                             DANIEL R. SCHIESS
                                               Assistant United States Attorneys
11
                                               Attorneys for the United States
12

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14         IT IS SO ORDERED.

15         DATED this ____
                      23 day of April, 2018.

16

17         _______________________________
           Gloria M. Navarro, Chief Judge
18         United States District Court

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1                             CERTIFICATE OF SERVICE

2          I certify that I am an employee of the United States Attorney’s Office. A

3    copy of the foregoing Motion and Attachment were served upon counsel of record

4    via cm/ecf.

5          DATED this 12th day of March, 2018.

6

7                                          s/Daniel R. Schiess        _
                                           DANIEL R. SCHIESS
8                                          Assistant United States Attorney

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